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AO 472 (Rev. 11/16) Order of Detention Pending Trial
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UNITED STATES DISTRICT COURT
for the
Northern District of Texas
United States of America

Case No. 3:20-mj-00562-BN
Philip Russell Archibald
Defendant

 

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ORDER OF DETENTION PENDING TRIAL
Part I - Eligibility for Detention

Upon the

[X] Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
(-] Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

(JA. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
presumption that no condition or combination of conditions will reasonably assure the safety of any other person
and the community because the following conditions have been met:

(_] (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
[_] (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
§ 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
("| (b) an offense for which the maximum sentence is life imprisonment or death; or
(ec) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
(21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
[](d) any felony if such person has been convicted of two or more offenses described in subparagraphs
(a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
jurisdiction had existed, or a combination of such offenses; or
(_](e) any felony that is not otherwise a crime of violence but involves:
(i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
(iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
[_] (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
§ 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
to Federal jurisdiction had existed; and
[-] (3) the offense described in paragraph (2) above for which the defendant has been convicted was
committed while the defendant was on release pending trial for a Federal, State, or local offense; and
(1 (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

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[X]B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a

rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and the safety of the community because there is probable cause to believe that the defendant
committed one or more of the following offenses:

X] (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the

Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);

[] (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;

(-) (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
or more is prescribed;

[-] (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
imprisonment of 20 years or more is prescribed; or

(_] (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,

2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
2260, 2421, 2422, 2423, or 2425.

[XJC. Conclusions Regarding Applicability of Any Presumption Established Above

(J The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
ordered on that basis. (Part III need not be completed.)

OR

EX] The defendant has presented evidence sufficient to rebut the presumption, but after considering the
presumption and the other factors discussed below, detention is warranted.

Part III - Analysis and Statement of the Reasons for Detention

After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

[X|By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
the safety of any other person and the community.

[X]By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

XX] Weight of evidence against the defendant is strong

[_] Subject to lengthy period of incarceration if convicted

(J Prior criminal history

[] Participation in criminal activity while on probation, parole, or supervision
(J History of violence or use of weapons

(X] History of alcohol or substance abuse

[-] Lack of stable employment

[_] Lack of stable residence

(] Lack of financially responsible sureties

[_] Lack of significant community or family ties to this district

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(-] Significant family or other ties outside the United States

[-] Lack of legal status in the United States

[-] Subject to removal or deportation after serving any period of incarceration
(_] Prior failure to appear in court as ordered

] Prior attempt(s) to evade law enforcement

(-] Use of alias(es) or false documents

(-] Background information unknown or unverified

(_] Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:

As stated on the record at the conclusion of the June 10, 2020 hearing, the Court finds the testimony of the government’s
witness credible and reliable, and this testimony sufficiently establishes probable cause to believe the defendant
committed the offense charged in the complaint: conspiracy to distribute and possession with intent to distribute
controlled substances in violation of 21 USC 841 & 846. Indeed, the evidence against the defendant is strong; the
government's witness testified that agents made numerous controlled buys of controlled substances from the defendant
over the span of more than a year when the defendant was living in two different cities. His fingerprints were recovered
from packaging used to ship drugs through the mail, and cameras at mail kiosks captured pictures of the defendant
mailing the packages containing the drugs. The defendant also made post-Miranda admissions that he had been selling
illegal steroids for five years and that he supplies customers throughout Texas and in Arizona and California. Because
there is probable cause to believe the defendant committed a controlled substance offense punishable by 10 or more years,
there is a rebuttable presumption under 18 USC §3142(e)(3) that detention is warranted. The defendant came forward
with some evidence to rebut the presumption, including several letters of support from family members who live in the
area and evidence that the defendant has no criminal history. Notwithstanding this evidence, the defendant should be
detained because the government met its burden to prove that there is no condition or combination of conditions that
could be set to reasonably assure the safety of any other person and the community. The government's witness testified
that when agents executed the search warrant on the defendant's home they recovered evidence of illegal steroid sales, as
well as approximately 600 adderall pills laced with methamphetamine and several firearms. The defendant admitted to
using steroids and possessing a firearm during a recent trip to Odessa, Texas. The government's witness also testified that
the defendant used his social media accounts (which have more than 70,000 followers) to encourage vigilante activity and
guerilla warfare in response to recent protests. He also threatened violence against law enforcement officers. This
testimony was corroborated by pictures and screenshots of social media posts showing the defendant was in downtown
Dallas--after the curfew--armed with a rifle and ammunition. Considering the factors listed in 18 USC 3142(g), this
evidence shows there are no conditions that will reasonably assure the safety of any other person and the community.

Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.

Date: 06/10/2020

 

Unitféd States Magistrate Judge

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